                                                                                   Case 3:20-cv-00155-RCJ-CLB Document 28 Filed 10/21/20 Page 1 of 3



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                                                                              14                               UNTITED STATES DISTRICT COURT
                                             Henderson, Nevada 89052




                                                                              15                                        DISTRICT OF NEVADA
                                                                              16
                                                                                    LINDSAY BURCHBY, an individual, and                     CASE NO. 3:20-cv-00155-RCJ-CLB
                                                                              17    CASEY BURCHBY, an individual
                                                                              18
                                                                                                          Plaintiffs,                       ORDER FOR DISMISSAL WITH
                                                                              19                                                            PREJUDICE
                                                                                    v.
                                                                              20
                                                                                    TRAVELERS HOME AND MARINE
                                                                              21    INSURANCE COMPANY; DOES I -XXX;
                                                                                    and ABC CORPORATIONS A-Z; inclusive,
                                                                              22
                                                                                                        Defendants.
                                                                              23
                                                                              24          IT IS HEREBY STIPULATED AND AGREED by and between Plaintiffs Casey Burchby
                                                                              25   and Lindsay Burchby (“Plaintiffs”) and Defendant The Travelers Home and Marine Insurance
                                                                              26   Company (“Defendant”), by and through their respective counsel, and hereby notify this Court that
                                                                              27   the above-matter settled at mediation held on August 26, 2020 before Judge Jerry C. Whitehead
                                                                              28   [Ret.], and request that this matter be dismissed with prejudice in its entirety, including all claims

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                                                                               1   that were or could have been asserted herein. Each party will bear their own costs and attorneys’
                                                                               2   fees.
                                                                               3           This case has not been scheduled for trial.
                                                                               4
                                                                               5    DATED: October 9, 2020                               DATED: October 9, 2020
                                                                               6
                                                                                    LEVERTY & ASSOCIATES LAW CHTD.                       FORAN GLENNON PALANDECH PONIZ
                                                                               7                                                         & RUDLOFF PC

                                                                               8
                                                                                    By: /s/ Patrick Leverty______________                By: /s/ Dylan P. Todd              /
                                                                               9    Patrick R. Leverty, Esq. (NV Bar No. 8840)           Amy M. Samberg (NV Bar No. 10212)
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                                                                                    Nancy A. Gilbert, Esq. (NV Bar No. 6891)             Dylan P. Todd (NV Bar No. 10456)
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                                                                              13                                                         Henderson, NV 89052
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                                                                              14    Attorneys for Plaintiffs
                                             Henderson, Nevada 89052




                                                                                                                                         Attorneys for Defendant The Travelers Home
                                                                              15                                                         and Marine Insurance Company

                                                                              16                                                 ORDER

                                                                              17
                                                                                           IT IS SO ORDERED.
                                                                              18
                                                                              19 Dated: October 21, 2020
                                                                              20                                                 _______________________________________
                                                                                                                                 UNITED STATES DISTRICT COURT JUDGE
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                                                                               1                                CERTIFICATE OF SERVICE
                                                                               2             I certify that a copy of the foregoing STIPULATION AND ORDER FOR
                                                                               3   DISMISSAL WITH PREJUDICE was served by the method indicated:
                                                                               4          BY FAX: by transmitting via facsimile the document(s) listed above to the fax
                                                                                   ☐
                                                                               5          number(s) set forth below on this date before 5:00 p.m. pursuant to EDCR Rule 7.26(a).
                                                                                          A printed transmission record is attached to the file copy of this document(s).
                                                                               6          BY U.S. MAIL: by placing the document(s) listed above in a sealed envelope with
                                                                                   
                                                                               7          postage thereon fully prepaid, in the United States mail at Las Vegas, Nevada addressed
                                                                                          as set forth below.
                                                                               8          BY ELECTRONIC SERVICE: submitted to the above-entitled Court for electronic
                                                                                   
                                                                               9          service upon the Court’s Registered Service List for the above-referenced case.

                                                                                         BY EMAIL: by emailing a PDF of the document listed above to the email addresses of
                                                                              10          the individual(s) listed below.
FORAN GLENNON PALANDECH PONZI & RUDLOFF PC




                                                                              11
                                                                                   Dated: October 9, 2020
                                                                              12
                                                                              13
                                                                                                                              /s/ Darhyl Kerr
                                        2200 Paseo Verde Parkway, Suite 280




                                                                              14                                             An Employee of Foran Glennon
                                             Henderson, Nevada 89052




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